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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

In Re:                                       )       BK No.: 20-01251
                                             )
         Daniel Valdez,                      )       Chapter: 13
                                             )
               Debtor(s).                    )       Honorable LaShonda Hunt

    AMENDED ORDER IMPOSING SANCTIONS AGAINST DUKE & DUKE
MANAGEMENT LLC D/B/A TRUST LENDING FOR WILLFUL VIOLATION OF THE
                       AUTOMATIC STAY

        This cause coming before the Court on an evidentiary hearing on May 22, 2020, on the
amount of sanctions to be assessed against creditor Duke & Duke Management LLC d/b/a Trust
Lending LLC ("Trust Lending") for its willful violation of the automatic stay, due notice having
been given and the creditor not appearing, the Court being fully advised in the premises and
having jurisdiction of the subject matter, IT IS HEREBY ORDERED THAT for the reasons
stated on the record:

         1.    Debtor Daniel Valdez' request for sanctions against Trust Lending under 11
               U.S.C. § 362(k) is GRANTED as set forth herein.

         2.    Trust Lending shall pay Debtor $249.18 via cashier's check or money order
               payable to Daniel Valdez as compensatory damages for its unjustified refusal to
               refund Debtor for post-petition bank account withdrawals made on account of
               pre-petition debt, after receiving notice of his bankruptcy filing and refusing to
               cease collections. See Thompson v. GMAC, 566 F.3d 699, 702 (7th Cir. 2009).

         3.    Trust Lending shall pay Debtor's counsel $2,803.30 via cashier's check or money
               order payable to "Joseph S. Davidson, The Sulaiman Law Group, Ltd." as
               reasonable attorneys' fees and costs for the filing and prosecution of Debtor's
               Motion for Sanctions.

         4.    All payments shall be remitted to Debtor and his counsel by June 30, 2020.

         5.    This matter is continued to July 10, 2020, at 10:30 a.m. for a telephonic status on
               compliance.

Dated: May 27, 2020                                  Enter:

                                                     ___________________________________
                                                     Honorable LaShonda A. Hunt
                                                     United States Bankruptcy Judge
